             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL NO. 1:18-cv-00322-MR-WCM


IRENE WARREN KENT,                       )
Administratrix of the Estate of          )
Michele Quantele Smiley,                 )
                                         )
                        Plaintiff,       )
                                         )   ORDER APPROVING
             vs.                         )   SETTLEMENT WITH
                                         )   COUNTY DEFENDANTS
VAN DUNCAN, in his official capacity )
as Sheriff of Buncombe County;           )
WESTERN SURETY COMPANY, as               )
surety for the Sheriff; CHARLES J.       )
WILHELM, in his official and             )
individual capacity; JEFFREY LEON )
LITTRELL, in his official and            )
individual capacity; THOMAS              )
CHRISTOPHER (“CHRIS”) BARBER, )
in his official and individual capacity; )
RYAN PATRICK ZABLOUDIL, in his )
official and individual capacity;        )
MICHAEL CORN, in his official and        )
individual capacity; EDWARD F.           )
PARKER, in his official and individual )
capacity; MEGHAN T. RIDDLE, in her )
official and individual capacity; TINA )
COX MILLER, LPN; and SOUTHEAST )
CORRECTIONAL MEDICAL GROUP, )
PLLC,                                    )
                                         )
                        Defendants.      )
________________________________ )




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      THIS MATTER is before the Court on the Plaintiff’s Motion to Approve

Partial Wrongful Death Settlement, with County Defendants [Docs. 57, 58].1

                                BACKGROUND

      This is a wrongful death action brought by the Plaintiff Irene Warren

Kent, as the Administratrix of the Estate of Michele Quantele Smiley. The

Plaintiff’s claims arise from the Defendants’ alleged failure to provide Ms.

Smiley with emergency medical treatment and/or transportation to the

hospital for such treatment while she was experiencing a severe drug

overdose, which resulted in her death, during her detention at the Buncombe

County Detention Center.         Specifically, the Plaintiff has alleged that

Defendants Van Duncan (“Duncan”), Charles J. Wilhelm (“Wilhelm”), Jeffrey

Leon Littrell (“Littrell”), Thomas Christopher Barber (“Barber”), Ryan Patrick

Zabloudil (“Zabloudil”), Michael Corn (“Corn”), Edward F. Parker (“Parker”),

and Meghan T. Riddle (“Riddle”) failed to provide appropriate medical

treatment for Ms. Smiley, failed to contact emergency medical services,

failed to secure emergency medical care from a licensed physician, and

failed to transport Ms. Smiley to the hospital, in violation of their affirmative

obligations under N.C. Gen. Stat. § 153A-224 and N.C. Gen. Stat. § 162-55,


1Document 57 is a sealed version of the County Defendants’ Motion to Approve Partial
Wrongful Death Settlement. Document 58 is a redacted, public version of the same
motion.
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and in violation of Ms. Smiley’s rights under the Fourteenth Amendment. The

Plaintiff further has alleged that Western Surety Company is liable for the

negligence of the aforementioned Defendants under the Sheriff’s bond

pursuant to N.C. Gen. Stat. § 58-76-5. Defendants Duncan, Wilhelm, Littrell,

Barber, Zabloudil, Corn, Parker, Riddle, and Western Surety Company shall

be hereinafter referred to as “the County Defendants.”2

      The Plaintiff has reached a settlement agreement with the County

Defendants. The Plaintiff now seeks court approval of that settlement, as

five of the six beneficiaries of the agreements are minor children. See N.C.

Gen. Stat. § 28A-13-3(23) (2018).

                                FINDINGS OF FACT

      On December 18, 2019, this matter came on for final hearing before

the Court. Present at the proceeding were counsel for the Plaintiff; counsel

for the County Defendants; counsel for the Medical Defendants; the Plaintiff

Irene Warren Kent, as administratrix of the Estate of Michele Quantele



2 The Plaintiff also alleged that Defendant Tina Cox Miller, a Licensed Practical Nurse
employed by Southeast Correctional Medical Group, PLLC (hereinafter “the Medical
Defendants”) (1) failed to comply with the accepted standard of care for her healthcare
profession in the same or similar communities in regard to her medical treatment of Ms.
Smiley; and (2) failed to provide appropriate and necessary medical services while acting
under color of state law in violation of Ms. Smiley’s Fourteenth Amendment right to
reasonably adequate medical care. The Plaintiff has reached a separate settlement
agreement with the Medical Defendants, which settlement is addressed by separate
Order.
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Smiley and as legal guardian of the minor children; Roy Kent, as legal

guardian of the minor children; and the guardian ad litem for the minor

children, John C. Cloninger. Prior to the hearing, the Court reviewed the

following with respect to the Motion to Approve Settlement with the County

Defendants: (1) the Settlement and Release of All Claims and exhibits

thereto [Docs. 58-1, 58-2; 58-3, 58-4]; (2) the Affidavit of Irene W. Kent and

exhibit thereto [Docs. 58-5, 58-6]; (3) the Affidavit of John C. Cloninger [Doc.

58-7]; (4) the Affidavit of George B. Hyler, Jr., counsel for the Plaintiff, and

exhibits thereto [Docs. 58-8, 58-9, 58-10, 58-11, 58-12]; and (5) the Affidavit

of John M. Olesiuk, counsel for the Plaintiff [Doc. 58-13].

       Based on the Court’s document review and based on the statements

at the hearing by counsel for the parties, the Plaintiff, Mr. Kent, and Mr.

Cloninger as guardian ad litem, the Court makes the following FINDINGS OF

FACT:

       1.     Michele Smiley was 34 years old at the time of her death. She

is survived by six children: Trenton Fleming, age nineteen, and five minor

children (S.F., age sixteen; S.F., age fifteen; B.F., age twelve; L.F., age ten;

A.N., age seven).3


3The full names and dates of birth of each of the minor children are set forth in the Second
Sealed Addendum to Order Approving Settlement with County Defendants, entered
contemporaneously herewith.
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      2.    The Plaintiff Irene Warren Kent is Ms. Smiley’s grandmother, and

she is the duly appointed administratrix of Ms. Smiley’s estate. She also

serves, along with her husband Roy Kent, as legal guardian of Ms. Smiley’s

five minor children.

      3.    At the hearing held on December 18, 2019, the Plaintiff

acknowledged that she:

            (a)   has read the settlement documents filed in this matter,

including the Settlement and Release of All Claims; the Qualified Assignment

and Release Agreement; the Addendum to Settlement and Release

Agreement; and the Addendum for Minor’s Compromise, and that she

understands and assents to the terms thereof.

            (b)   has had an adequate opportunity to confer with her counsel

regarding her decision to settle this matter.

            (c)   understands that the settlement documents propose that

certain consideration be paid for the benefit of the minor children.

            (d)   believes, in her capacity as legal guardian for the minor

children, that the proposed settlement is fair and reasonable for the minor

children under the circumstances of this case, particularly as to the nature of

the settlement, the amount of monetary payments to be made under the

settlement, and the proposed disbursements of the settlement funds.

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            (e)     believes, in her capacity as administratrix of Ms. Smiley’s

estate, that the proposed settlement is fair and reasonable for the estate

under the circumstances of this case, particularly as to the nature of the

settlement, the amount of monetary payments to be made under the

settlement, and the proposed disbursements of the settlement funds.

            (f)     understands that, if the Court approves the settlement and

release agreement, the consideration due will be provided as described in

the settlement documents filed herewith.

            (g)     understands that the monies paid for the benefit of the

minor children belong to the minor children and not to her, and that she may

not use any such monies for typical parental expenditures such as for food,

clothing, shelter, healthcare, or other maintenance costs associated with

raising children.

            (h)     understands that, if the Court approves the settlement and

release agreement, the provision of the consideration for the settlement by

the County Defendants will terminate the estate’s claims and any claims of

the minor children against the County Defendants.                 She further

acknowledged that she understands that her decision to accept the

settlement and release agreement on behalf of the minor children (if such

agreement is approved by the Court) will bind the minor children and said

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children will be enjoined from seeking any future redress against the County

Defendants, pursuant to the settlement and release agreement, based upon

the acts and omissions alleged in the Second Amended Complaint.

      4.    At the hearing held on December 18, 2019, Roy Kent, as a legal

guardian of the minor children, acknowledged that he:

             (a)    has read the settlement documents filed in this matter,

including the Settlement and Release of All Claims; the Qualified Assignment

and Release Agreement; the Addendum to Settlement and Release

Agreement; and the Addendum for Minor’s Compromise, and that he

understands and assents to the terms thereof.

            (b)     believes, in his capacity as legal guardian for the minor

children, that the proposed settlement is fair and reasonable for the minor

children under the circumstances of this case, particularly as to the nature of

the settlement, the amount of monetary payments to be made under the

settlement, and the proposed disbursements of the settlement funds.

            (c)     understands that the monies paid for the benefit of the

minor children belong to the minor children and not to him, and that he may

not use any such monies for typical parental expenditures such as for food,

clothing, shelter, healthcare, or other maintenance costs associated with

raising children.

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           (d)    understands that, if the Court approves the settlement and

release agreement, the provision of the consideration for the settlement by

the County Defendants will terminate any claims of the minor children against

the County Defendants. He further acknowledged that he understands that

his decision to accept the settlement and release agreements on behalf of

the minor children (if such agreement is approved by the Court) will bind the

minor children and said children will be enjoined from seeking any future

redress against the County Defendants, pursuant to the settlement and

release agreement, based upon the acts and omissions alleged in the

Second Amended Complaint.

     5.    At the hearing held on December 18, 2019, the guardian ad litem,

John C. Cloninger, acknowledged that he:

            (a)   has read the settlement documents filed in this matter,

including the Settlement and Release of All Claims; the Qualified Assignment

and Release Agreement; the Addendum to Settlement and Release

Agreement; and the Addendum for Minor’s Compromise, and that he

understands and assents to the terms thereof.

           (b)    is satisfied, in his capacity as guardian ad litem for the

minor children, that the proposed settlement is fair and reasonable for the

minor children under the circumstances of this case, particularly as to the

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nature of the settlement, the amount of monetary payments to be made

under the settlement, and the proposed disbursements of the settlement

funds.

      6.    To assess the reasonableness of the settlement and release

agreement, the Court requested that counsel for the Plaintiff and the County

Defendants give a forecast of their trial evidence and provide a candid

evaluation of the strengths and weaknesses of the Plaintiff’s claims and any

defenses thereto.    The parties complied with the Court’s request and

proffered the following details surrounding the factual and legal

circumstances of this matter.

      7.    On October 6, 2017, Ms. Smiley was brought into the Buncombe

County Detention Center at approximately 11:17 a.m. by three probation

officers, after she had been arrested for alleged violations of her probation.

      8.    At approximately 11:50 a.m., Ms. Smiley was brought into the

North Booking Area of the Detention Center by Defendant Michael Corn.

During the next approximately 27 minutes, Ms. Smiley began showing signs

of experiencing a severe drug overdose. According to Defendant Miller’s

Encounter Notes, Ms. Smiley had an ashy undertone in her face, her pupils

were dilated, her anxiety and agitation began to increase, she could not sit

still, she was pacing back and forth in the bathroom, she said that she was

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“burning up from the inside out,” her hands were extremely red, and she was

sweating heavily. [See Ex. 4-B: Doc. 57-10].

      9.    Ms. Smiley also disclosed to Defendant Miller and other

Defendants that she had swallowed “a lot” of “meth,” and she repeatedly

stated, “I can’t do this,” and “I don’t feel right.” [Id.]. Other than Defendant

Miller stating to one of the Defendant jail guards that she “would not take her”

and attempting to obtain her vital signs, Defendant Miller did nothing to treat

Ms. Smiley’s condition or to assist her in obtaining emergency medical

treatment. [Id.].

      10.   While Defendant Miller was attempting to obtain Ms. Smiley’s

blood pressure, another Defendant jail guard stated, “Don’t worry. It’s meth.

You’re not going to die. You’re just going to get really high.” [Ex. 4-D: Doc.

57-12]. At approximately 12:17 p.m., Defendant Miller was told to “get out

the way” by Defendant Littrell, and Ms. Smiley was taken into an unfurnished

cell by Defendants Littrell, Corn, and Zabloudil. [See Ex. 4-B: Doc. 57-10].

As she was being taken to the cell, Defendant Littrell made the comment,

“She can really fake it. She has been here several times. You can’t overdose

on meth.” [Id.].

      11.   After being placed in the cell alone, Ms. Smiley rolled around on

the floor for nearly an hour, and then exhibited seizure-like movements, went

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into cardiac arrest, and stopped breathing. During that time, the County

Defendants failed to place Ms. Smiley on a four-times-per-hour direct

observation watch, as required by 10A NCAC 14J .0601(c), and she

subsequently died from methamphetamine toxicity. [See Ex. 4-C: Doc. 57-

11].

        12.   In evaluating the provisions of the settlement and release

agreements, the Court assessed the following factors. As explained by the

Plaintiff’s counsel, the case for liability was strong. Ms. Smiley was a highly

sympathetic character, as she had a minimal criminal record and by all

accounts was a good mother to her six children. Plaintiff’s counsel had

obtained video footage from the Detention Center which showed the

interaction between Ms. Smiley and Detention Center staff in the time period

leading to Ms. Smiley’s death.       This video footage, counsel explained,

demonstrated that staff did not adequately monitor Ms. Smiley’s condition

and that she was left alone for extended periods of time.         Additionally,

Plaintiff’s counsel had retained experts who were prepared to testify that

Detention Center staff failed to follow established procedures and

regulations in monitoring and responding to Ms. Smiley’s condition. Despite

the apparent strengths of the Plaintiff’s case against the County Defendants,

Plaintiff’s counsel also acknowledged that there were weaknesses to the

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case, including the potential for some or all of the County Defendants to

successfully assert the defense of qualified immunity, and the potential for

jurors to conclude that the methamphetamine toxicity that Ms. Smiley

suffered was a consequence of her own actions and therefore the

Defendants should not be held liable for her death. Counsel for the County

Defendants expressed their belief that this settlement was very favorable in

light of various factors. First, defense counsel acknowledged that while the

defense of qualified immunity was a possibility, it was unlikely that all the

Defendants would have prevailed at summary judgment on that defense, and

therefore, the case would likely have gone to trial.         Defense counsel

acknowledged that given the compelling nature of the video footage, the

likelihood of a plaintiff’s verdict at trial was high. Finally, counsel for both

sides agreed that by mediating the case early before the commencement of

witness and expert depositions, the parties had avoided incurring significant

discovery expenses.

      13.   Based on all the foregoing, the Court finds that the settlement

and release agreement is fair and reasonable under all of the circumstances

of this case; that the consideration to be provided under the terms of that

agreement is fair and reasonable; and that the proposed disbursement of

such consideration is fair and reasonable.

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                         CONCLUSIONS OF LAW

     WHEREFORE, based upon the foregoing findings of fact, the Court

concludes as a matter of law that:

     1.    Minors, because they are legally incompetent to transact

business or give consent for most purposes, need responsible, accountable

adults to handle property or benefits to which they are or become entitled.

N.C. Gen. Stat. § 35A-1201(a)(6). Moreover, where minors are entitled to

receive damages pursuant to the settlement of a wrongful death action, such

settlement must be approved by the Court, even though the minors are not

parties to the wrongful death action. See N.C. Gen. Stat. § 28A-13-3(23).

     2.    The Plaintiff Irene Warren Kent, acting in her capacities as both

administratrix of the Estate of Michele Quantele Smiley and as a legal

guardian of the minor children, and Roy Kent, in his capacity as a legal

guardian of the minor children, are competent in all respects and are able to

understand the ramifications of the settlement and release agreement, as

well as the effect such agreement would have upon the minor children, and

are competent and able to execute their duties accordingly.

     3.    Attached hereto and incorporated herein by reference is a sealed

addendum entitled “Addendum to Minor’s Compromise,” which sets forth

certain details of the structured settlement annuities for the minor

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beneficiaries, including payment dates and amounts. The Court finds that

the extent, nature, and amount of recovery for the minor children is fair and

reasonable, and the disbursement of such funds as provided in the

settlement and release agreement and the sealed Addendum hereto is in the

best interests of the minor children.

      4.    The disbursement of the settlement proceeds, as set forth in the

settlement and release agreement and the sealed Addendum to Minor’s

Compromise, benefits the minor children by the way in which the funds are

to be disbursed. The parties have specifically informed the Court that all are

in agreement as to the manner of distribution set forth therein and are

capable of carrying into effect the same.

      5.    The Plaintiff Irene Warren Kent, as administratrix of the Estate of

Michele Quantele Smiley and as a legal guardian of the minor children, and

Roy Kent, as a legal guardian of the minor children, have bound the minor

children herein in the same manner as if such minors had consented to the

settlements as adults.

      6.    The settlement and release agreement should be approved.




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                                   ORDER

      IT IS, THEREFORE, ORDERED that the Plaintiff’s Motion to Approve

Partial Wrongful Death Settlement, with County Defendants [Docs. 57, 58] is

GRANTED, and the parties’ settlement and release agreement filed in this

matter under seal [see Docs. 58-1, 58-4] is hereby APPROVED.

      IT IS FURTHER ORDERED that the parties shall file a stipulation of

dismissal with respect to all the Plaintiff’s claims against the County

Defendants within thirty (30) days of the entry of this Order.

      IT IS SO ORDERED.         Signed: January 8, 2020




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